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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                 _________________

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                       Case No. 1:18-cr-167
v.
                                                       Hon. Paul L. Maloney
                                                       United States District Judge
TREBARIUS MCGEE,

                 Defendant.
___________________________/

                  ORDER GRANTING MOTION FOR LEAVE TO
                     FILE UNDER RESTRICTED ACCESS

       Before the Court is the Defendant’s motion for leave to file Exhibit C for

Defendant’s Motion for Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)

under restricted access.

       Leave of the Court is granted for the filing of Exhibit C for Defendant’s Motion for

Reduction in Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A) under restricted access.

       Restricted access shall be provided to the Court and attorneys for the government

and the named defendant only.



Dated: September __,
                 22 2020                          /s/ Paul L. Maloney
                                                 HON. PAUL L. MALONEY
                                                 United States District Judge




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